1 F.3d 1253NOTICE: Federal Circuit Local Rule 47.6(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.
    Malcolm C. SOUNESS, Claimant-Appellant,v.Jesse BROWN, Secretary of Veterans Affairs, Respondent-Appellee.
    No. 93-7068.
    United States Court of Appeals, Federal Circuit.
    June 15, 1993.
    
      Before LOURIE, Circuit Judge, FRIEDMAN, Senior Circuit Judge, and CLEVENGER, Circuit Judge.
      ON MOTION
      ORDER
      CLEVENGER, Circuit Judge.
    
    
      1
      The Secretary of Veterans Affairs moves to waive Fed.Cir.R. 27(d) and to dismiss Malcolm C. Souness' appeal.  Souness has not filed a response.
    
    
      2
      Souness seeks review of an order of the Court of Veterans Appeals dismissing his appeal as untimely.  The Court of Veterans Appeals determined that Souness failed to demonstrate that his notice of appeal was filed within 120 days after the date of mailing of notice of the Board decision.  Souness challenges only factual determinations or the application of a law or regulation to his claim.  No issue is raised that falls within the limited jurisdiction of this court under 38 U.S.C. Secs. 7292(c), (d)(1)-(2) (Supp.  III 1991).  See Livingston v. Derwinski, 959 F.2d 224 (Fed.Cir.1992).
    
    
      3
      Accordingly,
    
    IT IS ORDERED THAT:
    
      4
      (1) The Secretary's motion to waive Fed.Cir.R. 27(d) is granted.
    
    
      5
      (2) The Secretary's motion to dismiss is granted.
    
    
      6
      (3) Each side shall bear its own costs.
    
    